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                                   STATEMENT OF FACTS


       1.      Your affiant, Briant Jacobs, is a special agent assigned to the FBI Seattle
Division, Inland Northwest Joint Terrorism Task Force. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a special agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention,
detection, investigation, or prosecution of a violation of Federal criminal laws.
       2.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.
       3.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.
       4.      As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to
keep the crowd away from the Capitol building and the proceedings underway inside.
       5.      At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
however, around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including
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by breaking windows and by assaulting members of the U.S. Capitol Police, as others in the
crowd encouraged and assisted those acts.
        6.     Shortly thereafter, at approximately 2:20 p.m. members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the
joint session of the United States Congress was effectively suspended until shortly after 8:00
p.m. Vice President Pence remained in the United States Capitol from the time he was evacuated
from the Senate Chamber until the sessions resumed.
        7.     During national news coverage of the aforementioned events, video footage,
which appeared to be captured on mobile devices of persons present on the scene, depicted
evidence of violations of local and federal law, including scores of individuals inside the U.S.
Capitol building without authority to be there.
        8.     One individual who participated in the January 6, 2021 riot at the U.S. Capitol
Building has been identified on open-source websites by the hashtag “#Metrojack.” Photographs
tagged with the hashtag “#Metrojack” on these open-source websites depict a white male
individual with a full beard, wearing a canvas-like dark jacket, a red plaid button-down shirt,
brown overall-style pants, and a beanie-style cap. The “#Metrojack” photographs also show the
individual carrying a gas mask and a handheld device that appears to be a smartphone. From the
contents of the photographs, as well as the date and time stamps of the photographs, it is clear
that the photographs depict the individual within the restricted area of the U.S. Capitol Grounds,
inside the U.S. Capitol building, and on the floor of the U.S. Senate Chamber on January 6,
2021.
        9.     As part of an investigation into the events of January 6, 2021, the FBI compiled
the open-source photographs associated with the “#Metrojack” hashtag on Twitter. The compiled
photographs included the following:
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       10.     The FBI reviewed the photographs of the individual identified as “#Metrojack”
and compared them to publicly accessible booking photographs of a similar-looking individual,
and concluded that the booking photographs might depict the same person. The FBI determined,
from the social security number associated with the booking photograph, that the individual in
the booking photograph was Joshua Edward JOHNSON (“JOHNSON”), a resident of Spokane,
WA. FBI attempted to locate JOHNSON at an apartment complex located in Spokane,
Washington, but determined that, four to five months prior, JOHNSON vacated the residence
and moved to an unknown location. Two former neighbors of JOHNSON at the apartment
complex positively identified JOHNSON as the individual in the “#Metrojack” photographs.
       11.     The manager of the apartment complex provided a telephone number for
JOHNSON ending in 4001. FBI obtained records from AT&T via legal process for the
subscriber data associated with that phone number. Subscriber data associated with that phone
number listed the financially liable party as JOHNSON.
       12.     FBI acquired geolocational cellular data via legal process served on AT&T, which
identified JOHNSON’s phone number as having utilized a cell site consistent with providing
service to the geographic area that includes the interior of the United States Capitol building on
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January 6, 2021. The first connection of JOHNSON’s phone to the cell site occurred at 2:42 PM
on January 6, 2021. The last connection occurred at 3:27 PM on January 6, 2021.
       13.     FBI reviewed Expedia travel records, which revealed JOHNSON created a one-
way booking on December 31, 2020 for a departure from Spokane, WA on January 4, 2021, and
an arrival in Washington, D.C. on January 5, 2021 on American Airlines. The telephone number
ending in 4001 – the same number for which JOHNSON was financially liable – was provided
for the booking. A review of American Airlines records showed JOHNSON taking flights from
Spokane, WA to Reagan National Airport in Washington, D.C., via connecting flights, on
January 4-5, 2021.
       14.     The FBI spoke with WITNESS 1 and WITNESS 2, family members of
JOHNSON. WITNESS 1 and WITNESS 2 gave the FBI the following image, which they
acquired from open-source media outlet The New Yorker, and positively identified JOHNSON
as the individual seen in the picture, on the floor of the U.S. Senate, using his cell phone to take
imagery of documents on a podium:




       WITNESS 1 and WITNESS 2 disclosed that they knew that JOHNSON had been present
in the Capitol building on January 6, 2021. WITNESS 2 disclosed she had assisted JOHNSON
book his flight and that JOHNSON had told her he was going to Washington, D.C. and did not
know when he would return. JOHNSON had also told another family member, WITNESS 3, he
had entered the Capitol building during the events of January 6, 2021. WITNESS 3 relayed that
information to WITNESS 2, who disclosed the conversation to your affiant. WITNESS 1 and
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WITNESS 2 confirmed that JOHNSON was the individual featured in the “#Metrojack”
photographs when shown.
       15.     Pursuant to a search warrant issued in the Eastern District of Washington, the FBI
conducted a search of JOHNSON’s residence. The search resulted in the finding and seizure of
the clothes and gas mask worn by JOHNSON as seen in the “#Metrojack” photos, and airline
ticket stubs for JOHNSON’s travel to Washington, D.C.
       16.     Johnson was arrested on July 19, 2021 by the Spokane County Sherriff’s
Department for a domestic assault. He was interviewed by the FBI in custody. After waiving
his Miranda rights, JOHNSON acknowledged himself in the “#Metrojack” pictures from the
U.S. Capitol and confirmed his identity by writing his intitials on each photograph. JOHNSON
saw the police retreating and rioters advancing toward the entrance to the Capitol; once he
reached the door, he saw police and rioters spraying each other with what he believed was mace.
       17.     JOHNSON admitted to entering the Capitol and making his way to the floor of a
House of Congress on January 6, 2021. (JOHNSON identified the chamber he entered as the
“Congress” side, although the photographs indicate that he was actually in the Senate).
JOHNSON explained he had entered the Capitol Building because he wanted to “stop the steal”;
he hoped to find Congress in session and stand there and “be heard” by Congress. He hoped to
convince then-Vice President Pence to “do the right thing” and call out the “funky business
going on with the votes.”
       18.     Based on the foregoing, your affiant submits that there is probable cause to
believe that JOHNSON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes
or disrupts the orderly conduct of Government business or official functions or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be
temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.
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       19.     Your affiant submits there is also probable cause to believe that JOHNSON
violated 40 U.S.C. § 5104(e)(2)(A), (D), and (G), which makes it a crime to willfully and
knowingly (A) enter or remain on the floor of either House of Congress or in any cloakroom or
lobby adjacent to that floor, in the Rayburn Room of the House of Representatives, or in the
Marble Room of the Senate, unless authorized to do so pursuant to rules adopted, or an
authorization given, by that House; (D) utter loud, threatening, or abusive language, or engage in
disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session
of Congress or either House of Congress, or the orderly conduct in that building of a hearing
before, or any deliberations of, a committee of Congress or either House of Congress; and (G)
parade, demonstrate, or picket in any of the Capitol Buildings.




                                                  _________________________________
                                                  BRIANT JACOBS, SPECIAL AGENT
                                                  FEDERAL BUREAU OF INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 8th day of March, 2022.
                                                                 Zia M. Faruqui
                                                                 2022.03.08
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                                                  ___________________________________
                                                  ZIA M. FARUQUI
                                                  U.S. MAGISTRATE JUDGE
